                                    Exhibit 6C
                       Excerpts from Deposition of Kevyn Orr




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                                  In The Matter Of:

                                     City of Detroit




                                      Kevyn Orr
                                    August 30, 2013




                                    Original File ORR_KEVYN.txt
                              Min-U-Script® with Word Index

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 1                          UNITED STATES BANKRUPTCY COURT

 2                     FOR THE EASTERN DISTRICT OF MICHIGAN

 3                                  SOUTHERN DIVISION

 4

 5    In Re:

 6

 7    City OF DETROIT, MICHIGAN                     Chapter 9

 8                                                  Case No.13-53846

 9                         Debtor.                  Hon. Steven Rhodes

10                                                         /

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13             The Videotaped Deposition of KEVYN ORR,

14             Taken at 1114 Washington Boulevard,

15             Detroit, Michigan,

16             Commencing at 8:32 a.m.,

17             Friday, August 30, 2013,

18             Before Cindy Mendenhall, RPR, CSR-5220.

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 1    BY MR. HACKNEY:

 2    Q.       Okay.   That's correct?

 3    A.       Yes.    That is correct.

 4    Q.       So if I ask you what your view is on the likelihood

 5             that the City's Swap and validity arguments will

 6             prevail, you will assert the attorney-client

 7             privilege; is that correct?

 8    A.       Yes, more than likely.

 9    Q.       If I ask you your view on the likelihood that the

10             pledge of the gaming revenues under the Michigan

11             Gaming Act is an invalid pledge, you'll assert the

12             attorney-client privilege, correct?

13    A.       Yes, more than likely.

14    Q.       If I ask you questions regarding the likelihood that

15             the City would prevail on a claim or defense against

16             the Swap counterparties, you'll assert the

17             attorney-client privilege, correct?

18    A.       Yes, more than likely.

19    Q.       And I guess I gotta clarify.             When you say more than

20             likely, I mean are you asserting the privilege with

21             respect to those types of questions?                I'm trying to

22             save having to --

23    A.       Sure.

24                           MR. SHUMAKER:         Let me state for the record

25             you can ask questions as to whether those -- those




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 1             factors were considered by Mr. Orr, but obviously if

 2             you're going to ask what he was -- what he was advised

 3             by counsel, then I'm going to instruct him not to

 4             answer.

 5    A.       When I say more than likely, that's -- that's exactly

 6             the distinction that I'm trying to make.                  Did I have

 7             discussions with my counsel?             Yes.    Did those

 8             discussions take into consideration some of those

 9             factors?      Yes.   Am I going to tell you what those

10             discussions were and what, if any, conclusions were

11             made?   No.

12    BY MR. HACKNEY:

13    Q.       Okay.   Fair enough.

14                           On July 15, 2013, the City entered into

15             what we're going to call the forbearance agreement

16             with the Swap counterparties and the service

17             corporations; is that correct?

18    A.       Yes.

19    Q.       When did negotiations around that agreement with the

20             Swap counterparties begin after your appointment?

21    A.       I think there were discussions about negotiations

22             almost immediately after my appointment.                  My specific

23             knowledge -- when you say negotiations, what do you

24             mean?

25    Q.       Well, let me -- let me ask it a different way, which




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 1             is isn't it true that Mr. Buckfire was the lead

 2             negotiator for the City on the business terms of what

 3             became the forbearance agreement?

 4    A.       Yes.

 5    Q.       And Mr. Buckfire has testified that the negotiations

 6             in earnest regarding what became the forbearance

 7             agreement were conducted between June 4th and

 8             June 11th of 2013?

 9    A.       I don't recall those specific dates, but I think

10             that's the right time frame.             Let me -- let me try to

11             be as clear as I can so we can move on.                  We began

12             talking, discussing ways with my advisors, without

13             discussing what we discussed, to provide the City with

14             liquidity almost immediately upon my appointment.                       The

15             negotiations that you're referring to I believe did

16             occur within that time frame.

17    Q.       Okay.    So you don't have a basis as you sit here today

18             to contradict Mr. Buckfire's recollection of when the

19             key negotiations over the business terms of the

20             forbearance agreement were conducted?

21    A.       No.    It might be earlier, but that's the approximate

22             time frame.

23    Q.       And as he was the lead negotiator, he's probably the

24             guy who would know, right?

25    A.       Sure, absolutely.




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 1             point during the first week, but they -- they resumed.

 2             My interpretation was that they broke down, and then

 3             they recommenced a second week.

 4    Q.       Okay.    So on -- if there -- to the extent

 5             Mr. Buckfire's right that there was an in-person

 6             June 8th meeting --

 7    A.       Yeah.

 8    Q.       -- do you remember what his -- what your marching

 9             orders to him were as he went into that meeting?

10    A.       Here again, the concept of marching orders, we were

11             trying to get to an agreement generally, and I believe

12             the instructions were to continue to move towards that

13             process, whatever that was.             And so the specific

14             bid/ask that were going on throughout that time, I

15             don't -- I don't recall, but the general concept was

16             to continue to try to move to a point to get to a

17             discount number or a discount process.

18    Q.       Is it fair to say that if I ask you for the specific

19             ebb and flow of the negotiations between the Swap

20             counterparties in terms of the precise business

21             deal --

22    A.       Right.

23    Q.       -- you would have to defer to Mr. Buckfire's

24             recollection because he was more intimately involved?

25    A.       That's fair.      Because Ken was -- Ken would have the




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 1             direct meetings and then call me back.                   We'd go back

 2             and forth, and I didn't keep notes and I didn't keep a

 3             calendar, so --

 4    Q.       I asked you about nondisclosure agreements, but did

 5             the City execute any other agreements of any kind with

 6             the Swap counterparties during this period that you

 7             were negotiating the forbearance agreement?

 8    A.       No, not that I know of.

 9                           (Discussion off the record at 8:59 a.m.)

10                           (Back on the record at 8:59 a.m.)

11                           MR. HACKNEY:        No.    Problem.        Let's go off

12             the record.

13                           VIDEO TECHNICIAN:          The time is 8:59 a.m.

14             We are off the record.

15                           (Recess taken at 8:59 a.m.)

16                           (Back on the record at 9:08 a.m.)

17                           VIDEO TECHNICIAN:          We are back on the

18             record at 9:08 a.m.

19    BY MR. HACKNEY:

20    Q.       Mr. Orr, I want to clear something up.                   Maybe I've

21             been saying it the wrong way.             I've been using the

22             term "marching orders" with the respect to the way

23             that you and Mr. Buckfire operated.

24    A.       Right.

25    Q.       And is a better way to say it that you authorized




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 1             Mr. Buckfire to negotiate the best possible deal he

 2             could with the Swap counterparties and that's what he

 3             did?

 4    A.       That's a fair characterization, sure.

 5    Q.       And at some point did he come out of a meeting and

 6             say, Mr. Orr, this is the best deal that I'm able to

 7             get out of these Swap counterparties and it's my

 8             advice that we take it?

 9    A.       Yes.

10    Q.       And was that on or about June 11th, 2013, which is the

11             date he recalls the agreement in principle being

12             reached?

13    A.       Yes.

14                           MR. SHUMAKER:         Objection to form.

15    BY MR. HACKNEY:

16    Q.       And what was the agreement in principle that was

17             reached as you understood it?

18    A.       The agreement was essentially that in exchange for a

19             reduced optional termination payment -- we'll just

20             call it the payment under the forbearance agreement --

21             the Swap counterparties would agree not to trap the

22             cash, they would agree to release their liens, and

23             also release their claims, I believe, against your

24             client, Syncora, and we would have access to that cash

25             going forward provided we made the discounted payment




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  1            entities that have long names that I'll only say to

  2            you if you want -- really want me to.

  3    A.      We'll stipulate I know what you mean by the service

  4            corporations.

  5    Q.      And there are two of them?

  6    A.      There are two.

  7    Q.      Okay.

  8    A.      Police and Fire General Services.

  9    Q.      There you go.       So you already know them and you said

10             the names.      So the two service corporations are

11             parties to the forbearance agreement, correct?

12     A.      Yes.

13     Q.      And Mr. Buckfire testified yesterday, I'll represent

14             to you, that his understanding is that you directed

15             the service corporations to execute the forbearance

16             agreement and they did so; is that correct?

17     A.      No.

18     Q.      Okay.   Were there arms' length negotiations with the

19             service corporations?

20     A.      To the best of my knowledge, there was.

21     Q.      And who led those?

22     A.      I'm not quite sure.          I know that -- in response to

23             your question, I did not direct a service corporation.

24             They were organized by the City.               And they are managed

25             by City employees, but I had no direct -- I gave no




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  1            direct instruction to either of the service

  2            corporations.

  3    Q.      Okay.    So my question was about negotiations with the

  4            service corporations.

  5    A.      Right.

  6    Q.      Who conducted the arms' length negotiations with the

  7            service corporations on behalf of the City?

  8    A.      I'm not sure.

  9    Q.      Well, you know it wasn't you?

10     A.      Yes, it wasn't me.

11     Q.      And did you ever direct Mr. Buckfire to engage in

12             direct negotiations with the service corporations?

13     A.      No.   I directed Mr. Buckfire to do whatever needed to

14             get done to get the agreement in principle resolved

15             and signed.      That's what I did, but I did -- said

16             nothing specific.            Just to be responsive to your

17             question, said oh, go talk to the service

18             corporations, there was nothing that specific.

19     Q.      So to the extent there was a negotiation that needed

20             to be had, it was his job to go have it?

21     A.      It was his or someone else on my -- on my

22             reorganization team's job, yeah, sure.

23     Q.      Well, did you direct anyone else on your team to go

24             negotiate with the service corporations?

25     A.      No.   Once we reached an agreement in principle, I




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  1            directed my team to more or less go forth and get it

  2            documented and get it done.

  3    Q.      And the service corporations are legally separate from

  4            the City, correct?

  5    A.      Yes, they are.

  6    Q.      Your powers as emergency financial manager do not

  7            extend to the service corporations, correct?

  8    A.      I haven't examined that question, so I can't answer

  9            you yes or no.

10     Q.      Can you direct their actions under PA 436?

11     A.      I'm not sure.

12     Q.      Do you have any firsthand knowledge that the service

13             corporations engaged in arms' length negotiations with

14             the Swap counterparties?

15     A.      No.

16     Q.      If they had, do you think that's something you would

17             have likely heard about?

18                            MR. SHUMAKER:        Objection, calls for

19             speculation.

20     A.      I may have.      As emergency manager, there are a number

21             of things that occur, as you might imagine, on a daily

22             basis that I may or may not hear of.                I might have.

23     BY MR. HACKNEY:

24     Q.      As you sit here today, though, can you recall hearing

25             that there were ongoing negotiations between the




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  1    A.      Yes.

  2    Q.      Okay.    Portia Roberson --

  3    A.      Um-hm.

  4    Q.      -- is the City's corporation counsel, right?

  5    A.      Yes.

  6    Q.      And she's also on the board of both service

  7            corporations, correct?

  8    A.      To the best of my knowledge, that's true.

  9    Q.      Do you know who made the decision at the service

10             corporations to enter into the forbearance agreement?

11     A.      I do not.

12     Q.      Did you have any conversations with either Ms. Johnson

13             or Ms. Roberson about the service corporations

14             entering into the forbearance agreement?

15     A.      No.

16     Q.      Isn't it true that the policy of the City is to

17             indemnify the service corporation directors for

18             actions they take in their capacity as City employees?

19     A.      I don't know that.

20     Q.      You don't know if that's the policy of the City?

21     A.      I do not.      I know the City has an indemnification

22             policy.     I don't know if it applies to the service

23             corporations.

24     Q.      Okay, but does it apply to the City employees?

25     A.      It applies to City employees acting within their




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  1            course and scope of their employment as employees of

  2            the City.

  3    Q.      Okay.    So as you sit here today, you can't say that

  4            that indemnification policy would extend to City

  5            employee actions taken in their capacity as service

  6            corporations --

  7    A.      Correct.

  8                           MR. SHUMAKER:        Objection, calls for a legal

  9            conclusion.

10     BY MR. HACKNEY:

11     Q.      I will -- I'm sorry.

12     A.      Okay.

13     Q.      As emergency financial manager, you control the salary

14             of all City employees; isn't that correct?

15     A.      As emergency manager.

16     Q.      As emergency manager, right.

17     A.      Right.

18     Q.      Sorry.      Is that the proper --

19     A.      It changed with Public Act 436.               Public Act 72 was EFM

20             and now I'm an EM.

21     Q.      Okay.    Got to get my lingo.

22     A.      Yeah.

23     Q.      And you do, as emergency manager, control the salary

24             of all City employees, correct?

25     A.      I have the authority to control the salary of all City




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  1            employees.      I have not exercised that authority for

  2            all City employees.

  3    Q.      Okay.   And you have the power to reduce those City

  4            employee salaries to zero if you choose, correct?

  5    A.      I think I do, yes.

  6    Q.      And you have done that on at least one prior occasion,

  7            I believe, correct?

  8    A.      Yes, I did do that.

  9    Q.      Okay.   Now, are you aware that the insurers, the Swap

10             insurers, like Syncora and FGIC, contend that the

11             hedges cannot be terminated without their consent

12             where there are termination events or events of

13             default?

14     A.      I have heard that.           I m -- I have no independent

15             awareness of that.

16     Q.      So when did you first hear that?

17     A.      I think it was all caught up in this time frame of

18             the -- of the discussion after the agreement in

19             principle, before the forbearance agreement was

20             reached.

21     Q.      Your best recollection is that you heard that prior to

22             the execution of the forbearance agreement?

23     A.      I believe it may have been prior to execution.

24     Q.      But you have taken -- you have taken no steps to

25             evaluate whether the City concurs with the insurers'




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